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   Foothill Ranch, California 92610
 3 Telephone: 949-652-2200
   Facsimile: 949-652-2210
 4 mwallin@wallinrussell.com
 5
   Attorneys for Plaintiff
 6 PALM   SPRINGS VILLAGE-309, LLC

 7
 8                           UNITED STATES BANKRUPTCY COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

10                                   SANTA ANA DIVISION

11
12 In re:                                          Case No. 8:23-bk-11037-SC
                                                   Chapter 7
13 THOMAS ALLEN WINDHAM,
                                                   Adv. Case No. 8:23-ap-01091-SC
14                      Debtor.
                                                   Assigned for all purposes to:
15                                                 Honorable Scott Clarkson

16 PALM SPRINGS VILLAGE-309, LLC,
                                                   STATUS REPORT
17
                        Plaintiff,
18                                                 Status Conference
            v.                                     Date: November 14, 2023
19                                                 Time: 1:30 p.m.
     THOMAS ALLEN WINDHAM,                         Place: Courtroom 5C
20                                                         411 W. Fourth Street
                                                           Santa Ana, CA 92701
21                      Defendant.
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 1         Plaintiff Palm Springs Village-309, LLC (“Plaintiff”) submits the following status report in

 2 advance of the status conference scheduled for November 14, 2023:
 3         Defendant Thomas Allen Windham’s (“Defendant”) default has been entered. By

 4 November 30, 2023, Plaintiff intends to file a motion seeking entry of a default judgment against
 5 Defendant.
 6         Plaintiff respectfully requests that the status conference be continued to January 2, 2024 or

 7 a date thereafter.
 8
 9 Dated: October 31, 2023
10
                                       WALLIN & RUSSELL LLP
11
12                                     By                       /s/ Michael Wallin
13                                                             MICHAEL WALLIN
                                                               Attorneys for Plaintiff
14                                                       PALM SPRINGS VILLAGE-309, LLC

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 TOWNE CENTRE DRIVE, SUITE 130, FOOTHILL RANCH, CA 92610

                                                                      STATUS REPORT
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
10/31/2023          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              10/31/2023        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 Thomas Allen Windham
 28181 Via Luis
 Laguna Niguel, CA 92677
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/31/2023                     Michael Wallin                                                  /s/ Michael Wallin
 Date                          Printed Name                                                     Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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SERVED VIA NOTICE OF ELECTRONIC FILING:

   •   Richard G. Heston rheston@hestonlaw.com,
       yflores@hestonlaw.com,docs@hestonlaw.com;HestonRR41032@notify.bestcase.com,handhecf@gmail.com
   •   Richard A Marshack (TR) pkraus@marshackhays.com,
       rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
   •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


SERVED VIA UNITED STATES MAIL:

Thomas Allen Windham
28181 Via Luis
Laguna Niguel, CA 92677
